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                      Lorain County Land Bank




                      Lorain County Land Bank
                      Lorain County Land Reutilization Corporation



                      The Primary function of the County Land Bank is to serve
                      as a facilitator for the return of vacant, abandoned, and
                      tax foreclosed property to productive tax paying
                      economic uses or to beneficial public uses.


                      The Lorain County Land Bank was formed on May 24,
                      2012
                         • Funding Sources for the Land Bank
                              0

                                  (as of February 26, 2015)
                                                                            C
                                  5% of the delinquent tax collection (DRETAC)
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Case: 1:24-cv-01861-DAP
                      TheDoc #: 36-5
                          Land  BankFiled: 05/16/25
                                     currently  owns2 many
                                                      of 2. PageID
                                                             vacant#:parcels
                                                                      351

                      throughout Lorain County
                            • Residents of the Community are able to submit applications to
                              bid on the properties to obtain them.




                      Land Bank Resources
                      Begin typing here to add a section title
                        0   Land Bank FAQs (PDF)
                        0   Land Reutilization Corporation Land Disposition Policy (PDF)
                        0   Vacant Land Application (PDF)
                        0   LCLRC -Available Parcels (PDF)



                      Land Bank Board Members:
                            • Commissioner David Moore - Chair
                            • Commissioner Jeff Riddell - Vice Chair
                            • Commissioner Michelle Hung - Secretary
                            • Jack Bradley, Mayor of Lorain - Treasurer
                            • Dan Talarek, Treasurer - Board Member
                            • Staff:
                                 0   Jeff Armbruster, County Administrator - Director
                                 0   James Miller - Assistant Director
                                 0   Theresa Upton - Corporation Secretary
                                 0   Katherine Keefe, LC Assistant Prosecutor

                      Land Bank meetings shall be held on the 3rd Thursday in the
                      month's of January & March. Special Meetings may be called as
                      needed.

                      Land Bank Board Meeting Agendas & Minutes




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